Case 3:06-cr-30046-RGJ-KLH   Document 134   Filed 07/10/07   Page 1 of 6 PageID #:
                                     429
Case 3:06-cr-30046-RGJ-KLH   Document 134   Filed 07/10/07   Page 2 of 6 PageID #:
                                     430
Case 3:06-cr-30046-RGJ-KLH   Document 134   Filed 07/10/07   Page 3 of 6 PageID #:
                                     431
Case 3:06-cr-30046-RGJ-KLH   Document 134   Filed 07/10/07   Page 4 of 6 PageID #:
                                     432
Case 3:06-cr-30046-RGJ-KLH   Document 134   Filed 07/10/07   Page 5 of 6 PageID #:
                                     433
Case 3:06-cr-30046-RGJ-KLH   Document 134   Filed 07/10/07   Page 6 of 6 PageID #:
                                     434
